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                   USA v. Curran – 3:21-cr-00453-VC-1

                        Index of Character Letters

#                   Last Name                             First Name

    1.               Bradford                               Chuck

    2.                Curran                                Kevin

    3.                Curran                                Siofra

    4.                Dekker                                 Jim

    5.                Devlin                            Richard (Rhett)

    6.              Drypolcher                          William & Trudy

    7.                Faliano                              Matthew

    8.                 Frost                                 Liam

    9.               Gallagher                              Conal

    10.               Hession                                Gary

    11.               House                                Jerry Lee

    12.                Keith                                 Jim

    13.              Kinahan                                Karen

    14.              LaRocca                                Richard

    15.               Lewin                                  Lysa

    16.               Lifsitz                              Frederick

    17.              Maguire                                 John

    18.             McCloskey                               Joseph

    19.              Medrano                                Mateo

    20.               Murphy                                Marty

    21.               Myrold                                 Erik




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22.               Nazzal                             Steve

23.              O’Connor                            Kevin

24.              O’Connor                           Thomas

25.                Page                             Forrest

26.           Pannelli-Powell                       Suzanne

27.               Powell                             Dylan

28.               Powell                             Kyra

29.               Roddy                             Eileen

30.              Shannon                             James

31.              Sheppard                           William

32.               Sicord                            William

33.              Sweeney                            Edward

34.              Velasquez                           Fred

35.               Wells                             Anthony

36.               Wilson                             Rick

37.               Ziegler                           Robert

38.              Zinchini                           Dianne




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                                        February 1, 2023


               Re:    Curran, Bernie
                      Case No.:     3:21-cr-00453-VC-1
                      Our File No.: XBCR.120355.1

Dear Honorable Judge Susan Illston:

        I am writing on behalf of my dear friend Bernie. I have been friends with Bernie for over
46 Years. our journey has been one of living and learning as we grow and mature. Bernie has
always been a stand-up Man always willing to share his time and energy to his family and
friends, teammates and all who have come under his supervision. All of us who have shared this
journey have the utmost respect and admiration for Bernie and his journey and achievements.
without a doubt his family dedication and commitment to his children and their education is his
priority above and beyond as with all parents who strive to contributing citizens with the values
he would, or any parent would be proud of. He is extremely remorseful for his participation and
involvement in the matter before the court. I would appreciate your consideration and mercy for
a probated judgement for Bernie.

        Thank You for your Consideration Honorable Judge Susan Illiston


                                      Sincerely Chuck Bradford
                                      817-899-8180



AGM.4472396.docx
                    Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 4 of 57



REDACTED
From:                              Curran and Associates <curranassociates@comcast.net>
Sent:                              Thursday, October 27, 2022 12:42 PM
To:                                Anne Montastier
Subject:                           Curran, Bernie Case No.: 3:21-cr-00453-VC-1



REDACTED
Dear Judge Susan Illston:

        I am writing this letter on the behalf of my brother, Bernie Curran. He is the oldest of four boys, I am the last
remaining brother of his. Our two brothers, Mike and John, passed away too young. Mike died in a construction/roofing
accident and John died due to complications with having Diabetes. I will be the only immediate family member writing,
as my father passed and my mother has Dementia.
        Bernie is the oldest of the boys and I am the second youngest. Growing up, Bernie was he best athlete and
smartest person in my eyes. He was the perfect older brother. If I needed help or guidance, he was there for me –
always. As I grew up, I found that he was not perfect, but when he messed up he would not run or hide from it. He
would face the consequences and learn from them. This carried on into his adult life. Bernie has been an active member
of Alcoholics Anonyms for about thirty-five years. When our youngest brother, Mike, passed, Bernie was my strength at
the lowest time in my life. In fact, he brought me to my first A.A. meeting. On January 28, 2023, I will be eighteen years
sober due in large part to Bernie.
        When Mike died, Bernie and I both had small construction companies. Bernie noticed how much I was struggling
with trying to put Mike’s death into some kind of perspective, so Bernie suggested that we combine our companies to
work together. In 1998 we started Curran and Associates. We hired up to thirty-five employees and took on bigger
projects. The company was doing well, then we received another shock – Bernie had been diagnosed with Stage IV
Melanoma with not a very promising prognosis. He had to take time off for chemotherapy and radiation. During this
time of his life, Bernie was more concerned about me – my sobriety and well being. That is just the kind of older brother
he is.
        I am very aware of the charges brought up against Bernie. In fact, I talked to the US Attorney Casey Boome,
about my brother. This has affected Bernie, his family, myself, and my family a great deal. As his brother, I am his biggest
supporter, but, also his harshest critic. I pulled no punches in letting Bernie know exactly where I stand on this situation
and the implications this has placed on his family. Bernie’s lack of judgment, lack of foresight, and gullibility upset me,
but I know Bernie and I know he is not a criminal. He has some very redeeming qualities. He works with youth sports
teams as a strength and conditioning coach. I was with Bernie the other day when he received a call from the athletic
director of a local high school asking him if he could help the school with their strength and conditioning program,
because they heard good things about him. That is the Bernie I grew up admiring.
        Earlier I mentioned our mother has Dementia. It became obvious to us that her illness was getting serious and
she needed help. Bernie found caregivers through his connections with the youth rugby team and went to Petaluma to
pick up the new caregiver. Both Bernie and myself share the care of our mother.
        Please take Bernie’s character as a brother, son, and friend into consideration when imposing his sentence.
Thank you for your time and consideration. If you have any questions, I would be more than happy to accommodate
you.

Very truly yours,


Kevin P. Curran
Curran and Associates General Contractors, Inc.
                                                       REDACTED
         Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 5 of 57




Siofra Curran
11933 Darlington Ave.
Los Angeles, CA 90049
(415) 741-4241
siofraacurran@gmail.com


19th January 2023


To Whom It May Concern,

My father has asked me to write a letter concerning my current employment at
Atlas Property Group, Inc. in San Francisco.

I have worked for the Tahbazof family for almost 7 years now. My father and
Sia Tahbazof had been friends since before I was born and my father asked
Sia if he would allow me to work part-time for them while I was in high school.

Over the years, I have held many different positions and worked for both their
residential and commercial divisions. I am very appreciative of the
opportunities the entire Tahbazof family has given me and I continue to have a
wonderful working relationship with them.

Sincerely,

Siofra Curran
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Philip J. Kearney Esq.
c/o Anne Montastier
580 California Street
Suite 1100
San Francisco, CA 94104

Dear Judge Susan Illston,

By way of intro, my name is Jim Dekker, and I am a retired English teacher, born
and raised in San Francisco. I attended Holy Name Grammar School (64’) Saint
Ignatius High School (’68) and Santa Clara University (‘72). A large portion of my
teaching career of forty years was spent at Saint College Preparatory. In addition
to teaching English (all levels including Advanced Placement) during those years, I
served sixteen seasons as head coach of the varsity baseball team and eight
seasons coaching in the women’s basketball program. I also spent seventeen
years in Development work as SI’s alumni Director, primarily as a fundraiser.

My relationship with Bernie Curran spans at least fifty years and began when I
was in college and on weekends hanging out and playing sports at Francis Scott
Key School Playground in the Sunset District. Bernie was just a kid, but he spent a
good deal of time at the “Key” where he was surrounded by some of the most
respected guys in the city, and I’m proud to say I was one of them. Bernie often
mentions to me how much those days and experiences meant to him because he
was influenced by genuine role models whom he could look up to.

I taught Bernie in an English class early in my career when SI was comprised of
1100 male students. As I recall, he worked hard in class, and his spirited
personality was quite evident. Even then he and I got along very well, as we both
came from similar backgrounds, and I loved teaching young men who were
energetic but also possessed character and integrity. Then, as is still the case,
Bernie was outgoing and loyal to his school and his friends.

After his SI days, Bernie and I remained friends and regularly kept track of one
another. When I was the Alumni Director, Bernie would often drop by my office
for a chat and a cup of coffee, bringing me up to speed on what was happening in
his life. It is worth noting that Bernie was close with SI’s President at the time,
Anthony Sauer, SJ, a man whom I greatly admired. After visiting me, Bernie would
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go down the hall to Father Sauer’s office and spend time with him. It was during
these visits that I first learned of Bernie’s divorce and his bout with cancer. These
two events were tough on Bernie, but I mention them to you because of the way
Bernie handled adversity, especially the cancer. True to Bernie’s nature he met his
illness head on, remaining positive and flatly refusing to let the disease beat him.

Just a few years ago, Bernie asked me to work with his daughter, Siofra, on her
writing. I met about once a week with her for nearly two years while she attended
SI. She ended up matriculating to UCLA where she has been a consistent honor
student. Even from college she’d send me her work to proofread and comment
upon. I mention this to you because I experienced firsthand Bernie’s absolute love
for his family. Siofra was Bernie’s top priority and although being a single parent
had its challenges, he strove to make sure she was well educated and had her
priorities in order.

Bernie is well known throughout SF for his willingness to help young athletes,
primarily regarding physical fitness. He is currently the health and fitness coach
for the Golden Gate Rugby Club, and I have watched Bernie in action because my
grandson Jamison was a member of last spring’s squad, and I went to many
games and several practices. Jamison absolutely loved Bernie, as did many of the
other players, despite the fact that he was definitely a tough task master.

Currently, Bernie is a fitness coach in the Balboa High football program. He told
me he finds working with the Balboa players gratifying because many of them
have not had the advantages of kids from private schools or wealthier families.

Allow me to conclude. I am not particularly well versed with the issues now
confronting Bernie, but I do know what kind of a person he is. Whenever Bernie’s
name comes up in conversation with any of my acquaintances throughout SF, he
is spoken highly of, and I have never heard anyone say anything negative about
him. People respect him and they respect what he stands for: loyalty, honesty and
hard work. I would trust him with just about any aspect of my life.

If for whatever reason you have further questions about my assessment of Bernie
Curran’s character, please don’t hesitate to contact me directly.

Sincerely,
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Jim Dekker
650-296-7544/jdekker@siprep.org
         Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 9 of 57



                                                                           580 California Street, Suite 1100
                                                                           San Francisco, CA 94104
                                                                           Telephone 415.788.1900
                                                                           www.mpbf.com




                                        February 1, 2023

Via Email Only / U.S. Mail

               Re:    Curran, Bernie
                      Case No.:     3:21-cr-00453-VC-1
                      Our File No.: XBCR.120355.1

Honorable Judge Susan Illston:

        I’ve known Bernie Curran for over forty years we grew up in the building trades together,
both working side by side and later helping each other on various building projects. Bernie got
his contractor’s license early on and myself and other friends would always go over after our
regular jobs to work with him usually 4 pm till sundown, to help Bernie get ahead. Bernie was
the only contractor that I would refer to other clients when the scope of work was too big for me.
He encouraged me to get my license which I did in 1989..

        Bernie quietly sobered up and began a life of helping others and giving back to the
community, which he has done since. He bravely weathered the storm that cancer can bring to
our lives and has always had a positive outlook. He helped many in recovery and sponsored men
that needed care in the beginnings of their sobriety. He continues to mentor young men and make
sure that they have the skills to make decisions and show up with integrity for their communities
and families.

        His career in the City of San Francisco as a building inspector our paths would cross
occasionally, we always have stayed close and I cannot say how much respect I have for Bernie
and the way he has conducted his life throughout life’s ups and downs, he continues to be an
inspiration to myself and others with his selflessness, steadfast demeanor and positive attitude
towards this chaotic world we live in. Bernie is someone who I would trust with my life.

       I haven’t heard from Bernie in regards to these proceedings and my only knowledge is
what I’ve seen online.

                                                    Very truly yours,
                                                    Richard (Rhett) Devlin



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Re: Bernie Curran
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                                 William and Trudy Drypolcher
                                        518 Fitch Street
                                    Healdsburg, CA 95448
                                        (415) 515-1770

                                        September 8, 2022

Mr. Phil Kearney
Murphy Pearson Bradley and Feeney
580 California Street, Suite 1100
San Francisco, CA 94104

Dear Sir:

My wife and I have known Bernie Curran since the mid-1990's. His construction company was
recommended to us for a large construction project in San Francisco (at the time I was the
majority owner of Zephyr Real Estate). The project, asecond-floor addition to my commercial
building on 24th Street, was completed on time and within budget. Over the next years I used
his firm to do other projects and recommended him to other clients.

We became business friends and enjoyed asemi-regular lunch to just catch up. Over these years
I found him to be hard working, honest, congenial, and a friend easy to know and like.

After joining the SF Building Department, Bernie was diagnosed with stage four cancer, and I
was diagnosed with prostate cancer. Through it all his will to live every day and to succeed for
his family helped him to beat his disease. During the time I was sick he gave me support and
tools to fight my cancer. I greatly appreciated that he helped me in my fight as well.
Bernie has something left to give for himself, his family and friends and our community. We
feel that incarceration is not appropriate but feel that probation is more suitable.
If anyone would like to contact us, we are available.

Sincerely,
             r

vv    r                         ~~~~

  ~                    ~~~
Willian and Trudy Drypolcher.
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Dear Judge Susan Illston,

    I am writing on behalf of my great friend Bernard Curran who I have know for over 54 years.
 My name is Liam F. Frost, I am a native and current resident of San Francisco and a retired
San Francisco Police Department Lieutenant after serving for over 31 years. I serve on 3
community Boards and since 2013 have served as President of the United Irish Societies of
San Francisco representing over 100,000 Irish Americans in the Bay Area. I am a past member
of the San Francisco Entertainment Commission and volunteer at the Veteran’s Administration
Hospital at Fort Miley. I write this letter representing my personal opinion only and not that of
any of the organizations I belong to. I have known Bernie Curran since we were children of
about 8 or 9 years old and grew up in the Sunset District of San Francisco. We attended Holy
Name Grammar school together with him being 1 year behind me. We continued our friendship
into high school, while he went to Saint Ignatius and I went to Abraham Lincoln. We played on
the same sports teams and continued to socialize together until early adulthood when we both
went to work full time. For the past 40 years I would run into Bernie in the neighborhood and at
the get togethers, weddings and funerals of family and friends. I saw how he lived his life and
raised his family. He always acted in the manner of a true gentleman.

   I have found Bernie to be of excellent character and above reproach. He enjoyed a larger
than life standing in the community and he is known city wide. I would trust him with the lives
of my children and grandchildren. I was shocked to learn of the charges against him. I believe
that his actions were a temporary lack of good judgement. Even though San Francisco is a big
City, news such as the charges against Bernie spread like wild re through our community.
Being as outgoing and popular that Bernie is, is a blessing and a curse. There is no place that
Bernie can go in the City where he is not known. I know that Bernie will take responsibility for
his actions and will want to be given the opportunity to earn back the sterling reputation that he
once had. I ask that you sentence him to the lowest term possible.

   I know that when given the chance Bernie will prove to everyone that his actions were an
anomaly. I am con dent that he will not repeat the actions of his past and that we will never
see his name on a criminal court document in the future.

  I appreciate you taking the time to read this. If you have any questions regarding me or
Bernie please feel free to contact me.




Sincerely,
Liam F. Frost
LiamFrost@sbcglobal.net
145 Denslowe Dr.
San Francisco Ca 94132
(415)412-9020
    fi
                                                 fi
        Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 13 of 57



                                                                           580 California Street, Suite 1100
                                                                           San Francisco, CA 94104
                                                                           Telephone 415.788.1900
                                                                           www.mpbf.com




                                        February 1, 2023

Via Email Only / U.S. Mail

               Re:    Curran, Bernie
                      Case No.:     3:21-cr-00453-VC-1
                      Our File No.: XBCR.120355.1

Dear Judge Susan Illston:

        I am writing to you on behalf of my good friend Bernie Curran. I have known Bernie for
close to forty years as our fathers come from the same part of rural West Donegal in Ireland. He
has been a good coach and mentor to kids of all background. He certainly has been an excellent
coach and advisor to my children. Bernie is always quick to lend a hand whether it was moving,
work, or a sporting event. Please see Bernie as I see him as a really good, caring person. I hope
you can express leniency in this case and sentence Bernie to the lowest possible sentence.


                                                     Very truly yours,
                                                     Conal Gallagher
                                                     4156997255



AGM.4460768.docx
Re: Bernie Curran
          Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 14 of 57




From: Gary Hession
Sent: Wed, 14 Sep 2022 18:08:31
To: Anne Montastier
Subject: Bernie Curran character letter
Importance: Normal
Sensitivity: None
Archived: Wednesday, February 1, 2023 12:20:16 PM

___________________________________
Dear Judge Susan Illston,

I’m writing on behalf of my friend Bernie Curran ,I’ve known Bernie for over 45 years ,we grew up in the sunset
district of San Francisco together. What I know about Bernie completely contradicts everything I’ve heard the last
year about him , growing up together he was always the most energetic ,positive and giving person you could have
known and he continues with those traits to this day .
Talking with him recently it was all about family ,youth sports (which he coaches) and working back in the
carpenter trade which is his real passion.
His life has been simplified these days by working hard ,supporting others thru AA which he has been a member for
over 32 years.
Bernie’s is remorseful and has been humbled by the last few years, his punishment has been the embarrassment he
has brought to his family which he tells me about every time we talk ,Bernie’s positive attitude is truly infectious he
doesn’t speak of himself thru his problem or blame others but has taken responsibility for his life. My name is Gary
Hession and I have worked for ACCO property management for 10 years . I would not hesitate to call Bernie for
anything and it would not be about business it would be about friendship.
I’m asking for leniency for Bernie Curran ,anything less would be a great injustice to so many people in his life.

Respectfully
Gary Hession
Ghesh2660@gmail
650 703-3591



Sent from my iPhone
        Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 15 of 57




                                         February 1, 2023


               Re:     Curran, Bernie
                       Case No.:     3:21-cr-00453-VC-1
                       Our File No.: XBCR.120355.1

Dear Judge Illston:

         Your Honor my name is Jerry Lee House. and I hope you will take the time to read this
letter I am writing on behalf of my good friend Mr. Bernie Curran I have had the pleasure of
knowing Mr. Curran and his family for more than 35 years Bernie is a very kind and honest man
great father good son and a wonderful friend. I worked as a plumber for the city and county of
San Francisco and Bernie’s father was my foreman we became friends am he introduced me to
his wife Noreen and 4 sons Bernie ,Kevin John and Mikey over those 35 years I have known
Bernie he has had to deal with the loss of his father and two of his brothers Mikey and john .john
was my best friend and Bernie help me with the pain while he dealt with his own. recently
Bernie's mother Noreen has developed Alzheimer’s disease and Bernie has cared for her. making
sure she is never alone and always taken care of. He is a good son and a great father to his
children. Bernie has help many of us get sober thru AA .and started his own AA group in the
sunset district in San Francisco. he has battled cancer twice and took on the fight in a very Bernie
way never feeling sorry for himself and even while sick helping others I am very proud to be
able to call Bernie curran my friend. I don't believe the charges against Mr. Curran but if he is
found guilty. please look at all he has done that is good in his life and give him the lowest
possible sentence.


                                              thank you for your time judge
                                               jerry lee house

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                                                                              580 California Street, Suite 1100
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                                         February 22, 2023


Via Email Only / U.S. Mail


               Re: Curran, Bernie
               Case No.: 3:21-cr-00453-VC-1
               Our File No.: XBCR.120355.1



Dear Judge Susan Illston:

Over the past few years, Bernie Curran has become like a brother to me. I met him in 2013
through my work as a personal trainer and while our relationship started out on a professional
level, we quickly became family.

In addition to my regular clients, I train several members of a high school rugby team, including
Bernie’s son. Not only is Bernie a dedicated father, always advocating for and encouraging his
son’s interests, but he also acts as a support system for all the boys on the rugby team—on and
off the field. Whether he was helping me train the boys at the gym, training them during rugby
practice, or attending every game no matter which city, state, or country they were playing in,
Bernie was there cheering them on through every win and encouraging them after every loss.

Bernie’s dedication to the team went beyond the sport and extended to each player as an
individual. I remember when one of the boys was having problems at school, but didn't have
parents that were around much. Instead of leaving him to fend for himself and navigate things on
his own, Bernie went to the school to speak to the teacher with the kid. He didn’t have to get
involved, but it was important for him to show the child that he had someone to rely on and that
family doesn’t always have to be the one you’re born into.

The example Bernie sets as a father and father figure extends to his efforts as a friend. I’m an
amputee, having lost my leg due to complications from a rare blood disease. Along with my
health, it’s impacted my mobility and ability to train clients like I used to. These are the kinds of
situations where you find out who your true friends are and I learned that Bernie is a friend like
no other. In addition to building a ramp for me so it’s easier for me to get in and out on my
wheelchair, Bernie helped set up my new training facility when I had to move locations. He was
there, late into the night, helping me assemble and organize equipment, and making sure
everything was reinforced and easily accessible for me.
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                                                                                Curran, Bernie
                                                                             February 22, 2023
                                                                                        Page 2



I’ve seen and experienced first hand how much Bernie gives back to the people and community
around him. He dedicates his life to helping others and is so welcoming to everyone he meets—if
you give him the lowest sentence possible, I know he’ll continue to do so and share the lessons
he’s learned through this whole process.

Thank you for reading this and for your time and consideration.

Respectfully,


Richard LaRocca
richard.larocca@gmail.com
(510) 684-7325
Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 21 of 57
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                                                                                 October 17, 2022


Your Honor,

          am writing you today to respectfully request leniency in the case of Bernie Curran.

        am a recently retired firefighter with the San Francisco Fire Department. I have known
Bernie and the Curran family for over fifty years. I grew up very close to the entire family and
have maintained this friendship ever since.

      Bernie was always a kind of big brother to me. I started working with him at the age of
18. He was always a very dedicated, talented, and efficient carpenter.

          Bernie's life has had its ups and downs: losing two of his three brothers much too soon
in life, the death of his father, a battle with alcohol and drugs, a bout with a deadly, advanced
cancer, and now caring for his elderly mother as her health declines.

       In spite of all these hardships, Bernie never gave up. He is now clean and sober for
more than thirty years. He has beaten cancer and does all he can to stay healthy. Bernie is a
dedicated father to his two children: his son is currently attending college, and his daughter is
a recent graduate. Bernie dedicates much of his time to coaching and mentoring young
people, and sponsoring others who are currently struggling with addiction.

       A lifelong athlete, avid surfer and martial artist, Bernie lives life to the fullest. He is
always there to help a friend or a stranger in need. His good nature, sense of humor, and
friendship to all people is legendary in San Francisco.

        It is my belief that Bernie has been through enough, and prison is not the place for him.
If probation could be an alternative, please consider showing him this mercy.

       Thank you for taking the time to read my letter.

                                                Sincerely,




                                                John Maguire
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Your Honor,
         am writing to you today to respectfully request leniency in the
Bernie Curran case.
       I'm a retired San Francisco Police Sargent, and I have known
Bernie since the early 1980's as we both played on the same rugby
team. Bernie was one the older players and became a great friend and
mentor. This friendship continued as we both become union carpenters
with Bernie becoming the youngest union contractor in the state.
       Bernie took on many responsibilities as two of his younger
brothers and father were taken from us. He is currently the primary
caregiver for his elderly mother. Bernie has also battered cancer during
this time and he is sfill fighting that fight.
       In spite of these hardships Bernie has put two his two kids
through college and is a remarkable father.
       As a police officer in San Francisco for over 30 years I have
encountered many people who belong in jail. Bernie is not one of these.
You would be hard pressed to find anyone who has a bad thing to say
about hire.
       Your Honor, please consider him for leniency

                                                incerel

                                        Sgt    seph McCloskey (Ret)
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                                        February 1, 2023

Via Email Only / U.S. Mail

              Re:     Curran, Bernie
                      Case No.:     3:21-cr-00453-VC-1
                      Our File No.: XBCR.120355.1




Dear Judge Susan Illston:

I am writing on the behalf of my friend and colleague, Bernie Curran.

My name is Mateo Medrano, and I have coached, as a volunteer, with Mr. Curran at the San
Francisco Golden Gate High School Rugby Club since 2017. I have been involved in coaching
high school rugby since 2008, and am currently a member of the Rugby NorCal board, our local
governing body. In addition to my current role on the RNC Board, I am also a past Vice
President of Rugby NorCal, and I hold a USA Rugby Level 300 Coaching Certification. In
professional life, I am currently a Business-to-Business Sales Account Executive with Sail
Internet. Over the past 18 years, I have been involved in wireless technology sales, either
Motorola two-way radio systems or wireless internet service. Please see a link to my LinkedIn
profile at the end of this letter.

 I have known Bernie for five years; we have volunteered together as coaches at San Francisco
Golden Gate High School Rugby. As I mentioned earlier, we are volunteers, and make no money
from coaching, even though we dedicate a significant amount of time to the team (3 practices per
week in season and 1 game per week in season). We volunteer because we love the sport, and we
want to make sure that we provide the current high school players with a level of support that
allows them to learn and grow as young men. It is very important to understand that, as
volunteers, we all lose money coaching (lost wages due to travel/practice attendance, spending
money on travel) and we also lose time with our families. It is more important to understand that
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Curran, Bernie
February 1, 2023
Page 2

we, and our families, accept these sacrifices because we volunteer for the good of the players.
Quite simply, Bernie and the rest of us, sacrifice because we believe that service to our fellow
humans, in this case young men, is one of the greatest actions we can undertake in life.

I know from many conversations with Bernie over the years that he is a recovering alcoholic, and
that he has turned his life around in that regard and is now clean and sober. As someone with a
family member who passed away from the complications of alcoholism, I can attest to the
challenging nature of sobriety and how it is a daily struggle. Bernie has succeeded in this
struggle, even through the challenges of this case.


Bernie has informed me of the charges against him, and I can state with certainty that this case
has caused him severe financial and emotional distress and that he is remorseful for his actions. I
know that Bernie has had to take an early retirement, has had property seized and has had his
reputation sullied. In spite of all this, he has continued to volunteer and be an excellent role
model to the young men on our team. If Bernie did not actually tell you what he is going
through, you may not even know. His ability to withstand such a heavy hit to his career, finances
and reputation while still serving in his role as a volunteer coach shows a level of character and
perseverance that is highly commendable.

My hope is Bernie is provided some level of leniency in this matter, and I am certain that, no
matter what happens, he will continue to be an excellent role model to the young men of our
team.


       Thank you for taking the time to read and contemplate this statement, your time and
consideration are greatly appreciated.

                                                             Respectfully,

                                                             Mateo Medrano

                                                             mhmedrano@yahoo.com
                                                             415-336-2923
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9/11/22

To: Judge Susan Illston

My name is Marty Murphy, and I am a 65-year-old retired Firefighter. I have surfed Ocean
Beach and swam in The Bay for over 50 years. I have known Bernie Curran for almost 50 years.
He was in my brother’s class at Saint Ignatius, a few years behind me and he attended Holy
Name Grammar School where my mother was principal for 25 years.

Bernie as always been a great guy and an asset to the community. He is one of the reasons I
have been sober for 30 years. His example and character were one of the biggest reasons that I
joined AA.

He was very, very good to my son and wife while we were raising him. He would always
encourage my son Matt and that is one of the reasons Matt got into martial arts which was
wonderful for him and later for the community, as he opened a martial arts studio catering to
young kids.

Throughout the years surfing in The City, Bernie has always been a leader by example. Always
positive and stoked. He has enjoyed a great reputation in the Irish Catholic community in the
Sunset. He has been looked up to by many for the help and friendship he readily gives to
others.

I have discussed with Bernie the situation he is going through. He acknowledges that his
reputation has been damaged; he is remorseful regarding his situation. However, and I feel this
is what speaks to his character, he is more concerned about how this might affect his ability to
help others. This is the kind of guy he is: kind, generous and thoughtful of others.

Over the years Bernie has sponsored many alcoholics in AA. This means spending hours and
hours taking guys through the book and the steps, talking to them and taking them to meetings.
I have personally witnessed numerous guys from the sunset get sober because of Bernie and go
on to lead productive lives in the community.

After talking to Bernie, I know he has learned his lesson. I also know he has suffered a great
deal and is remorseful regarding his conduct. Not my call but if ever there was a person that
deserved mercy, it is Bernie.

Sincerely,
Marty Murphy
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MURPHY                PEARSON                                                    San Francisco , CA 94104
                      BRADLEY & FEENEY                                           Telephone 415.788.1900
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                                            September 14 , 2022


 Dear Judge Susan Illston:


        I am writing on the behalf of my dear friend Bernie Curran . I have known Bernie for
 over twenty-eight years ; we are very close , intimate friends . I was there for every milestone
 event in his life; meeting Una ; getting married ; having his children Siofra and Mike ; losing his
 father; leaving his construction business and starting his job with the city building department;
 separation with Una; getting and beating cancer ; financial struggles with taking care of Una and
 putting the kids through private school.


        I feel I can say I am one of Bernie's closest, personal friends and we have seen each other
 through both difficult and prosperous times . My wife (of 29 years ) Jamie Myrold and I have
 been fortunate to have wonderful careers in Technology . She a VP of Design at Adobe for 17
 years and now with Apple for almost 2 years . I on the systems engineering / cloud business
 automation . We have shared a common spiritual path with Bernie and both families have been
 there for each other over the years .


           Bernie is one of the most honest and trustworthy persons I know. I have and will
 continue to trust him whole heartedly because he says what he means , does not lie and keeps
 every promise he makes . When he makes a mistake , he owns up to it and holds himself
 accountable never blaming others or being a victim of circumstance . He always holds himself
 accountable first even if others are to blame; he will only focus on his contributing actions .


           I remember one time I met him for lunch in Sunset District and I walked him back to his
 truck and there was a box of gifts in his front seat; flowers for his wife and a few bottles and
 fancy snacks - basically a care package from a General Contractor . Bernie looked at me,
 shrugged and smiled and then picked up the box and placed it on the sidewalk and left it there.
 He looked at me and said , you do not know how many times these guys try to get on my good
 side , I just have to politely decline and if they don't stop , I usually have to let them know I will
 have to report it and then they stop . Bernie is a straight shooter and I have experienced this first
 hand multiple times . When I heard about the accusations of bribery I actually had to laugh ,
 because I know that would never, ever be Bernie.


           I know Bernie told on himself for something he was not even being investigated for, this
 is how he is in terms of being honest. If he did something wrong , he will admit it, if he did not,
 he will deny it whole heartedly . He has solid integrity which is becoming more and more rare
 today .


           When Bernie and I first met he was already clean and sober and he has kept his sobriety
 this whole time . When he puts his mind and heart to something it is forever ! He has had his
 share of ups and downs and has had an excuse or two to start drinking but Bernie did not.
 During his separation with Una , he did not finalize the divorce because he wanted to be able to



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take care of her and provide her with benefits . It would have been much easier to just finalize
the divorce and let her fend for herself, but that is not how Bernie is built, he has to care for
others. I think he is one of the most chivalrous persons I know , always putting others needs
before his own . He picks people up, is always for the underdog and teaches his children -
including my own son, right from wrong and how to work hard.


       We have worked on many volunteer projects for a handful of non- profit organizations we
help. Our close group of friends all share the same commitment to volunteering and service. We
all have children close in age , and have included them in our community services . All the Kids
lovingly refer to Bernie as "Uncle Softie ". Big, strong Bernie would hang out with the kids after
a long day of volunteer work and watch corny Bollywood movies and all the kids would just
love hanging out with him because of his kind heart and infectious laugh .


         I bet if you interviewed 500 people who knew Bernie - all 500 would have nothing but
good things to say about him - that is a rare thing these days.


         He lost his job with the city, and instead of being overwhelmed and give up , he has put
his tool belt back on and is now running a large remodel job in South Bay . The General
Contractor that hired him stays up in Norther California and basically has left the entire
responsibility of the job, the crew, the subs in Bernie's hands . Bernie does not just fulfill the role
of Forman, he also client faces with the owner of the home, ensuring communication is open,
and progress and expectations are managed . People just trust Bernie ; they know they can rely on
him to take care of things.


         In terms of the mistakes , he has made as it relates to this case - I know he is absolutely
ashamed of the things he has acknowledged doing . This investigation has gone on for a long
time and he endured blame and false reporting from the media and he has not lost his faith, rather
keeps his head down , works hard and grasps to his spiritual beliefs and faith in God and remains
steadfast to face whatever is handed his way . We have had several conversations and it
continues to impress me that he continues to show gratitude for the life he has had and his desire
to pay his dues and move on the best he can.


         We are requesting you sentence Bernie to the lowest sentence possible because we are
confident this will not happen again . Thank you for taking the time to read and contemplate this
letter, your time and consideration are greatly appreciated .


                                                        Very truly yours ,




                                                         Erik My sold

                                                        Erik Myrold
                                                        emyrold@me.com
                                                        (773) 750-7597
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                                        February 1, 2023

Via Email Only / U.S. Mail

               Re:    Curran, Bernie
                      Case No.:     3:21-cr-00453-VC-1
                      Our File No.: XBCR.120355.1

AGM.4460768.docx

Re: Bernie Curran


Dear Judge Susan Illston:

        I am writing on the behalf of my great friend, Bernie Curran. I have known Bernie for
nearly fifteen years and he is one of the most thoughtful and endearing people I have ever
known.
        Upon meeting Bernie when I was just in high school, I was immediately overcome with
his compelling, grounded, and full-of-life sense of humor. From then and until we started
coaching together this past season as volunteers, his personality and relentlessness to see younger
kids better themselves hasn’t changed. There are many stories that come to mind when I think
about Bernie’s positive effect on others. However, there is one story, in particular, I feel speaks
volumes to the person he has always been.
        Upon conclusion of one the practices at Galileo High School in San Francisco, Bernie
was putting away some of the gear he used with the football players when one of the athletes
approached him a bit dejected. He began to explain to Bernie that he had recently been
diagnosed with a rare disorder called, “kyphosis,” or the hunching and rounding of the spine. It
had affected his confidence and self-esteem for years, often to the brinks of depression. At that
point, he had had enough and saw Bernie as an outlet for hope. With Bernie’s extensive
knowledge in strength and wellness, he knew exactly how and where to address the issue. And as
Bernie does, he empathized with the young man, and made a promise to work out with him
before every practice, vowing to help strengthen his upper back, in effort to relieve the
symptoms of the disorder. Upon hearing this offer, the young man’s eyes glistened, and his smile
was overwhelming. What was once a despondent adolescent without a path for hope moments
before, was then an optimistic student-athlete with a vision when he walked away. That’s the
man Bernie is – an altruist.

         Bernie is a dear friend to me and my family. We have all seen him move forward with his
life in a powerful way, always considerate of others, sharing his love with everyone he comes
into contact with. I know he learned a good lesson through this process, one that he will never
make again. We are requesting you sentence Bernie to the lowest sentence possible because we
are confident this will not happen again.
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Curran, Bernie
February 1, 2023
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       Thank you for taking the time to read and contemplate this statement, your time and
consideration are greatly appreciated.

                                                          Respectfully,

                                                          Kevin O’Connor
                                                          Koconnor1234@gmail.com
                                                          650-863-7305
        Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 35 of 57




                                                                              September 13, 2022

Dear Judge Susan Illston,

I am writing on behalf of my great friend Bernie Curran. I have known him for 47 years, and he
is one of the most generous and unselfish people I know.

I am a San Francisco native, and a Father of 3 children. I have been working as a Plumber since
1980, and I have been a Plumbing & Fire Protection Contractor since 1987.

Bernie and I attended the same grammar school, and played sports together growing up. We
would see each other from time to time on different job sites throughout San Francisco. Bernie
and I cross paths throughout the year at sports games, restaurants, and religious gatherings.

Bernie has not discussed any of his legal allegations with me; I have learned through the
newspaper about what is going on with his case. From a young age, Bernie always proved
himself to have integrity. I feel that if Bernie made any wrong decisions in his role as an
inspector, he did not do it for any selfish reason, but more so to help people out.

Bernie is a dear friend, a husband, and a son. We have all seen him move forward with his life in
a powerful way, always considerate of others, sharing his love with everyone he comes into
contact with. I know he learned a good lesson through this process, one that he will never make
again. We are requesting you lower his sentence to the lowest possible, because we are confident
this will not happen again.

Thank you for taking the time to read and contemplate this statement, your time and
consideration are greatly appreciated.

Respectfully,
Thomas O’Connor
        Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 36 of 57




Dear Judge Susan Illston,



My name is Forrest Page. I am currently a student at Saint Mary's College of California. I have

known Bernie Curran for many years due to my involvement with the San Francisco Golden

Gate Rugby Club (SFGG). I really got to know Bernie well when I transitioned into the high

school level of rugby at SFGG around six years ago. When one enters a conversation with

Bernie for the first time he makes you feel heard. He is an excellent listener and advisor. After

just one conversation with him it is obvious that he is a loving person, speaks from the heart, and

is passionate about his values. Everybody loves Bernie, it’s his smile, his good character,

positive attitude, humor, and ability to be there for you when you need it. Bernie runs the

strength and conditioning, along with being a trainer and recovery coach for the San Francisco

Golden Gate Highschool Rugby Club (SFGG). If you are not familiar with SFGG it is a non

profit rugby club that relies mainly on volunteers to stay running which allows kids and men to

get together for a greater cause and most importantly stay out of trouble. Bernie Curran is one of

those dedicated volunteers who has proven to be there rain or shine for kids that don't have many

other places to go. I have played with Bernie’s son Mike at SFGG for many years and despite

Mike graduating and moving on to a higher level of rugby Bernie continues to volunteer and

coach at SFGG. This shows his true dedication to helping the community and the kids. It is rare

to find someone so dedicated to helping a community that they would utilize all of their free time

away from work, in order to volunteer for highschool kids.    Many of the kids involved with

SFGG rugby may not have many other positive role models, communities, or outlets in their life

to be involved with. It shows a lot about Bernie’s strong character and good morals that he

shows up every day for these kids as a positive male role model. Not only does Bernie volunteer
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at SFGG he also works with many underprivileged highschool kids at Balboa Highschool in San

Francisco. Bernie is able to connect with them on a different level than many teachers. He

keeps them motivated to do positive things in and out of school by helping them stay active and

healthy in the gyms and on the field. Without Bernie many highschoolers, athletes, and entire

communities would be lacking such a powerful resource. Taking Bernie away from the many

communities that need him would not only do no good, it would cause harm to the kids that need

his positive influence. Bernie is an incredible person, mentor and citizen. I have rarely seen him

without a smile on his face. Without his knowledge, persistence, strong mindset and extremely

positive attitude endless communities would be lacking in all the amazing traits he has to offer.

Bernie has the kindest heart and the biggest smile. He brings so much joy and humor to such a

rough world. Bernie attracts good people and gives good advice. Without him many kids would

be lost.



Sincerely,

Forrest Page
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                                       September 11, 2022

Via Email Only / U.S. Mail

               Re:    Curran, Bernie
                      Case No.:     3:21-cr-00453-VC-1
                      Our File No.: XBCR.120355.1

AGM.4460768.docx
Re: Bernie Curran


Dear Judge Susan Illston:

        My name is Suzanne Panelli-Powell. I am a journeyman sheet metal worker with over 38
years in the construction trades and hold a bachelor’s degree from San Francisco State University
(Summa Cum Laude). I am a native San Franciscan and have also raised two children in San
Francisco. I am writing on the behalf of my great friend Bernie Curran, who I have known for
nearly 45 years. We grew up together in the same district and attended teen club together. Our
families see each other about once every month and he and I speak on the phone about every
other week. Bernie keeps in touch with my adult children, who are now in college, and has been
their mentor, helping them stay focused and loved, since they were in middle school. He is one
of the most upstanding individuals I have ever known.

        Bernie and I have discussed the serious predicament he’s in numerous times since he was
charged and it has made him depressed, distressed and continually pondering what events led to
these charges he’s going to court for and which cost him his job. These charges and the cruel
unrelenting press, which seems to have decided he’s guilty before being proven innocent, have
humiliated him to the degree that he’s oftentimes too embarrassed to see his friends and rarely
leaves his house. Since losing his City inspector job, he has had to make ends meet to continue
to pay tuition for his two students who are in college and find health care to cover them. He
actually had no choice except to accept a job doing physical labor again, at 62 years of age, as a
construction worker. He’s survived major cancer once and I worry that the stress from this
prolonged probe and trial may negatively impact his health. He is the main caretaker for his aged
mother, who has advanced state of dementia and he treats her with the utmost, patience, love and
respect.

       I’m not aware of Bernie having any personal problems or being of bad moral character.
He has always worked hard for anything he’s achieved in life. In his early twenties he spent
years perfecting his boxing skills and was victorious at the Northern California Golden Gloves
tournament. His great generosity with his skills, time, help and mentoring, in his immediate
community, has endeared him to both older and newer friends alike. I suffer from a few physical
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issues and Bernie has consistently helped me perform the required physical therapy, whenever I
ask him for help.

        He spends much of his free-time volunteering at high school strength and conditioning
coaching and is a mentor to many young men. I know for a fact that he’s helped with the
physical therapy of injured friends, supported friends going through chemotherapy and
rehabilitation and comforted the family of close friends who’ve died. He quit drinking alcohol
over 30 years ago and mentors friends with both alcohol and drug problems as well. His door is
always open to his community who would suffer without his presence. He helps, without
question, because he is, and has always been, a very trusting and caring man. I have never
witnessed Bernie asking others for help in return. He has spent most of his time raising his son
and daughter to be upstanding, educated, and loving human beings. He doesn’t feel he’s
committed any crimes, but, if he could go back in time, would not make the same choices that
culminated in being indicted on federal criminal charges.

         Bernie is a dear friend to me, my mother, my husband, my daughter and my son. We
have all seen him continually be a valuable and productive man, always considerate of others,
sharing his love with everyone he comes into contact with. I know he learned a good lesson
through this process, and will henceforth remain hyper-cognizant to ensure that he is never again
in this position. I implore you to sentence Bernie to the lowest sentence possible because I am
confident this will not happen again.

       Thank you for allowing me to share this information with you. Your time and
consideration are greatly appreciated.

                                                            Respectfully,




                                                            Suzanne Panelli-Powell
                                                            Panelli.powell@gmail.com
                                                            (415)731-9372
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                                       November 11, 2022

Via Email Only / U.S. Mail

               Re:    Curran, Bernie
                      Case No.:     3:21-cr-00453-VC-1
                      Our File No.: XBCR.120355.1

AGM.4460768.docx
Re: Bernie Curran


Honorable Judge Illston:

        My name is Dylan Powell. I am a full-time student, pursuing my Master of Finance
degree at the University of California, Irvine, and hold a bachelor’s degree from the University
of California, Santa Cruz (Cum Laude). In addition to attending college, I also work part time for
Berkeley Investment Advisors. I am a San Francisco native and have known Bernie for over
eight years. My mother introduced me to Bernie when I was in high school and we became good
friends; we both trained Jiu Jitsu at the same academy. Bernie has always made himself available
to me, especially when I have problems in school or life. Bernie has been like a second father
figure as well as a caring mentor. In past years he always invited our family to join his family on
vacations, which brought our families close together. Bernie is an honorable man, who drops
whatever he is doing to help me, even if he is swamped and stressed. A few years ago he made
time, in his busy schedule, to help me rehabilitate my knee, which was injured in a cycling
accident. When I was trying to get back into physical shape, Bernie consistently trained and
coached me for nearly a year. His caring and concern even went as far as him bringing me
special herbal teas, that would quickly get me back on my feet, when I got sick. I know first-
hand that he is also a great and loving father to his two terrific children, ensuring they go to
decent schools and get academic support when they need it, to improve their chances of future
success.


        Recently my grandmother had significant pain in her deteriorating spine that radiated into
her arm and immobilized her to remain in bed most of the time, for over three months, causing
her major depression. In addition to phoning my grandmother often to converse with her, Bernie
also offered to take her to her doctor’s appointments when no one else could. I’m aware that
Bernie is also the main caretaker for his aging mother, who has advanced dementia. He has given
so much of his time and energy to help my family and has never asked me for anything in return.
He is a very giving person who values helping others often.
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        Although I haven’t spoken to him about the charges against him and why he is going to
court, I’ve noticed that he seems depressed and anxiety-ridden often, since being charged and
since leaving the job he truly enjoyed at the San Francisco Building Department. Both
experiences are negatively impacting his life. I know that he is a cancer survivor and I worry
that this predicament has already negatively impacted his health and well-being. In speaking with
him, I know that he dwells on the importance of this case, feels strongly he is not a criminal, and
moving forward will be very aware of work, or other, situations that could compromise his life,
reputation and people’s opinion of him, in any way. If he must be given a sentence, please give
him the lightest sentence possible because of all the grief and loss he’s already experienced from
this case and because of how valuable and wonderfully-supportive he is to both me, my entire
family and everyone else in our community that I’ve witnessed and continue to witness him
helping. Thank you for allowing me the opportunity to write this letter on behalf of Bernie
Curran and for considering leniency in imposing any criminal sentence.

                                                            Respectfully yours,




                                                            Dylan Powell
                                                            Powelldl@uci.edu
                                                            (415)716-7283
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                                        October 21, 2022

Via Email Only/ U.S Mail

               Re:     Curran, Bernie
                       Case No.:     3:21-cr-00453-VC-1
                       Our File No.: XBCR.120355.1

AGM.4460768.docx
Re: Bernie Curran

Dear Honorable Judge Susan Illston:


        My name is Kyra Powell. I was born and raised in San Francisco and have attended school
here all my life. I am a twenty-one-year-old full-time student completing my Associate in Art for
Transfer in Business at City College of San Francisco. I work part-time at a local bar and teach
dance classes weekly at a local dance studio. I am writing on behalf of Bernie Curran. Bernie is
the father of one of my best friends, the partner of my aunt, and a dear friend to me and my family.
I’ve known Bernie since I was about twelve years old and have never questioned his character or
moral compass. He is a significant person in my life and someone I have always looked up to as a
father figure and sought out for guidance.

        Bernie has always invited me on family ski trips, surf trips, holiday events, and dinners.
These last few years have been very challenging for me, and Bernie has been kind enough to make
space in his life to help me through them. He has mentored me through life challenges, work
difficulties, the importance of my education, exercise plans, and meditation tools that have
significantly helped me in my daily life. On days when I was crippled with anxiety, Bernie went
out of his way to take me surfing or guide me through meditation. For the last year and a half, I
would talk to Bernie weekly, or, have dinner with him every few weeks. Lately, I message him
once a month and have been trying to give him space, because I’ve noticed how exhausted and
overwhelmed he has become in recent months, and I didn’t want to burden him more. He is the
most positive, non-judgmental and keenly alive person I’ve ever known, but that light has
significantly dimmed since charges were filed against him in this case.

        I don’t know much regarding the charges against him, or, this case, but after reading a pre-
trial news article about him, I am quite upset with how journalists, who do not know him, have
written so critically about him and slandered his character. When I speak with Bernie, he confides
in me that this ongoing case has affected most of his daily life, thoughts, spirit and some
friendships. After leaving his job with the San Francisco Building Department, he had to accept a
job that seems too physically demanding for someone his age and with his health history, but he
has been left no other choice to continue taking care of his family. He has survived cancer that’s
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maimed his body, the physical complications resulting from it, and is very proud of his decades-
long sobriety and being a sponsor to others needing his support.

        I worry that his strenuous new construction laborer job and depression over this court case,
are taking a toll on his physical and mental health and his ability to continue helping all the people
that regularly rely on him for patient and respectful support: most importantly his two children and
his mother who has advanced dementia. His two children attend college and rely solely on him for
support. Growing up with his kids, I’ve witnessed him help his son overcome personal challenges
and blossom into a confident and fine young man and seen how he has strived to empower his
daughter through an equally strong bond, encouraging her to pursue her dream of attaining a law
degree. Bernie spends every ounce of effort to teach his son and daughter to believe in themselves.

        He has a unique role as a mentor in the lives of children, youth, octogenarians and everyone
in-between, whether or not his own family. I have never seen him ask anyone for anything except
to ask my mom to bring him her famous fresh cranberry mold for Thanksgiving. He is the kindest,
most selfless, hardworking person, I have ever known in my community and I am honored to be
his friend. It is my hope that if he must be sentenced you take all this important information into
consideration for a lenient sentence, knowing that the lives of so many decent people might
deteriorate without him. I am available to talk if any further information is needed.

Sincerely yours,



Kyra Powell
Kyrapowell2012@gamil.com
(415) 786-6967
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Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 45 of 57
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William Sheppard
2000 Post Street #261
San Francisco, CA 94115
October 6, 2022

Re:   Curran, Bernie
      Case No: 3:21-cr-00453-VC-1

Dear Judge Susan Illston:

My name is William Sheppard. I live in San Francisco and I am currently
self employed as a Personal Coach and Writer. I own and maintain the
website The Wrektangle.com.

I am writing on behalf of my close friend Bernie Curran. I have known and
been friends with Bernie for over fifty years. We grew up together in the
Sunset District of San Francisco and attended Holy Name Grammar School
and Saint Ignatius College Preparatory. We have played on the same
soccer teams and we both have worked in and around the construction
industry for most of our lives.

It is not often that you get a chance to stand up for a friend who has found
some trouble. I consider this a golden opportunity for me to bring the
concept of friendship out of the abstract and into the concrete. I can think of
no person more deserving of my loyalty in their time of need than Bernie.
Growing up and throughout my life he has always been there for me and I
now relish the opportunity to be there for him.

I would like to start by saying that I do not know the specifics of the trouble
that Bernie is in other than it is related to his work as a building inspector.
So I have no statement to make regarding his legal
circumstances; however I have extensive knowledge of Bernie’s character.
Bernie has always been a person who is loyal to those he cares for and
giving to those who need help. He has a very strong work ethic and a
magnetic personality that draws many to him. He has been an inspiration
and guiding force for many young men through his involvement with the
sport of rugby. He is a strongly committed father and a mentor to many who
have battled and subsequently conquered drug and alcohol addictions.
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In regard to his recent troubles, I am sure he would freely admit that they
are of his own doing and I know that he feels deep regret. He realizes that
his character did not completely hold up when immersed in, what has been
described and proven through court proceedings to be an environment
filled with many forms of corruption from top to bottom. He also is aware
that there are consequences for his inability to stay free of the corrosive
nature of that environment. But along with regret and the accompanying
remorse I know that he feels a sense of relief that it is over. That now that
this singular demon has been exercised from his life he will be free to
return to being the complete man that he fundamentally is; an honest man
of strong character who cares for others and is motivated by his strong
sense of empathy to help all who need his assistance.

I have never been asked to write a statement like this and so I can only
hope that I have been able to shed some light on the true character of
Bernie. But just to be clear, this is not a letter written by a friend who
completes the task of favorably embellished description in the safety of
relative anonymity. On the contrary, I am willing to come speak to anyone
regarding my friend Bernie. If there are questions that you have or you feel
a need to hear specifics regarding Bernie please feel free to contact me.

Thank you for taking the time to read and contemplate this statement, your
time and consideration are greatly appreciated.

Respectfully,
William Sheppard
7sheppard7@gmail.com
(415) 994-0567
         Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 48 of 57



October 9, 2022

Re: Curran, Bernie

Case No.: 3:21-cr-OO543-VC-1



Dear Judge Susan Illston,

 am writing this letter on behalf of my dear friend Bernard Curran. I have known Bernie for
approximately eight years. In that time, I have known Bernie to be one of the kindest, most generous
and positive individuals in our San Francisco community.

 first met Bernie when he started coaching my son, Liam, for the Golden Gate Rugby Club while in
middle school. Bernie volunteered his time during the week and on the weekends to work with, coach
and mentor hundreds of young men over the years. I know he tried to instill a strong work ethic that
centered on eating right, fitness, and team work. I saw Bernie welcome boys from all social-economic
and ethnic groups and they all responded to his having a positive upbeat attitude. They all love Bernie.

On a personal note, in addition to coaching at the rugby club, Bernie also worked on the side to train
and rehab my son after he suffered a serious injury. My wife, son and I will all be forever grateful to
him. As a retired DEA Agent who spent over 26 years here in San Francisco, I would not write this letter
for everyone, but 1 will for Bernie Curran. I think that much of him and his family. I have spoken with
Bernie on several occasions about the charges in this case and I know he is truly remorseful. I have no
doubt Bernie has learned his lesson and will come out of this as the same trusted and valued member of
our San Francisco Community.

In closing, Your Honor, I know he is sorry for his crimes, he has the support of his family and friends and
he will not repeat his offenses. I respectfully ask that you treat Bernie with leniency and grant him the
lightest possible sentence in your power.



Rasp         Your,
 c
Willi   F Sico

WFSicord@GMAIL.COM

415.680.0965
                                      Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 49 of 57




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       Edward Sweeney
       206 Acadia St.
       San Francisco, CA

       (415) 339-3033

                                       September 6, 2022

Re Bernard Curran - 3:21-cr00453


       Dear Judge Susan Illston,

                I am writing on the behalf of my friend Bernie Curran. I have known
Bernie for his entire life as our fathers were good friends and were from the same area of
Co. Donegal Ireland. My father was from a small island and Bernie’s Grandfather
delivered the mail by boat from the mainland.

       Bernie and I worked together at the Department of Building Inspection. I was the
Deputy director for 14 years at the Department. Bernie was a very good hard-working
employee. Bernie came to the DBI after recovering from stage 4 cancer. He was a
licensed General Contractor specializing in mostly residential construction.

      Bernie is a long-time sober member of AA and is active in helping young men
and women try and overcome the scourge of substance abuse. Bernie consoled my son
Michael who is still battling drugs and alcohol as I write this. Bernie has spoken to
Michael many times, given him reading material and introduced him into the rooms of
A.A. Bernie has been very helpful to our family with advice on how to deal with a family
member with substance abuse problems.

       Bernie is a legend in the San Francisco Surfing community as he has surfed the
Bay Areas breaks since he was in Grade School as Holy Names grammar school. He is a
long-time strength coach to countless young athletes in the Bay Areas, Rugby, Football
and weightlifters. Bernie’s sub-basement is known as “Bernie’s house of Pain”

        As I have written my relationship with Bernie is very long. Bernie Curran has
never been in any trouble with the law before and I am confident that Bernie will never
again be involved with misdeed. Bernie has lost his job and his reputation has suffered as
a result. Bernie has learned a difficult lesson, one that he will never make again.

       I am requesting that you sentence Bernie Curran to the lowest possible sentence
because I am certain that this will never happen again and that his children need Bernie at
home for them.



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Thank you for taking the time to read and consider this statement, your time and
consideration are greatly appreciated.

                                                                           Respectfully,
                                                                        Edward Sweeney
                                                                           415 359 3033




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      Case 3:21-cr-00453-SI Document 69-3 Filed 07/07/23 Page 53 of 57




SFUSD
Fred Velasquez                            Balboa High School               (415) 469-4090 Ext. 3232
Head Football Coach                       1000 Cayuga Avenue               (415) 469-0859 Fax
                                          San Francisco, CA 94112




November 2, 2022


To Whom It May Concern:

I am writing in regards to Coach Bernie Curan. I met Coach Bernie in 2016 at Riordan High
School where I coached his son on the Freshman football team. Since then, we have been
working together off and on in the community. Coach Bernie and I have collaborated in Football,
Rugby, and personal training. In addition, Coach Bernie has been active with different
communities in the City of San Francisco, including Riordan High School’s greater
student-athlete community as well as the San Francisco Golden Gate Rugby teams, helping with
the Balboa Football Program. Coach has been faithfully working with the student athletes,
teaching them the proper way to stretch, workout, and take care of their bodies to prevent injuries.

Coach Bernie Curan has been a great help to our program and the Athletes really respect him. The
communities have been a better place with Coach Bernie devoting his time to help Student
Athletes. I am grateful he has faithfully been at our practices helping our players. Please reach out
to me if you have any other questions about this phenomenal human being.

Sincerely,


Fred L. Velasquez
Head Football Coach
coachvelasquez@gmail.com
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nnu~Fnr~P~soN        BRADLEY&FEENEY
                                                                                580 California Street, Suite 1100
                                                                                San Francisco, CA 94104
                                                                                Telephone 415.788.1900
                               A Professional Corporation                       www.mpbf.com




                                                                      September 7, 2022
 Re:   Carran, Bernie
 Case No.:     3:21-cr-00453-VC-1
 Our File No.: XBCR.120355.1



 Dear Judge Susan Illston,

         I have known Bernie Curran for over 10 years, and he is considered a member of my
 family, which I say proud fully. He puts his family at the top of his list, and has made raising his
 children, his top priority in life. He is proud of his work ethic and how hard he works, just ask
 him and he will tell you, I was surprised to hear about his case, as he has always been a solid
 man. Its for this reason, I am more than happy to write a letter of reference for Mr. Curran
 regarding this matter. I do understand the seriousness of this matter, however, I hope the court
 will show some leniency and give the lowest sentence possible.

          Bernie Curran has always been an upright character in my family, and has always been
 there fox friends and family, es}~ecially for his children and their welfare. He does put friends and
 family before himself. He is consistently considerate of others, and willing to go the extra step
 to help them if they should need it. He has the biggest amount of love and laughter, that he
 shares with everyone he encounters, which is very rare to find these days. He is great mentor to
 all the children he coaches in soccer, football etc., and is looked up to.

         Unfortunately, he may have made some bad decisions resulting in this case. While I am
 surprised to hear of this, it does not surprise me that he accepts responsibility for his actions. I do
 believe that moving forward, he will emerge an even better person.

        It is my sincere hope that my letter is taken into consideration at the time of sentencing.
 Despite this case, I still truly believe that Bernie Curran is an outstanding individual,
 hardworking, loving father, as well as extraordinary human being.




 Respectfully,

 ~~~~~~                  ~~
 Dianne Zinchini
 mrmoots(a~comcast.net
 916-938-1221



                           San Francisco ~ Sacramento ~ Los Angeles ~ Seattle
